     Case 1:04-cv-00491-BH-M Document 20 Filed 11/28/05 Page 1 of 1



               IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION

MICHAEL LEON POWE,               :

     Petitioner,                 :

v.                               :         CIVIL ACTION 04-0491-BH-M

GRANTT CULLIVER,                 :

     Respondent.                 :

                                ORDER

     After due and proper consideration of all pleadings in

this file, and a de novo determination of those portions of

the Recommendation to which objection is made, the

Recommendation of the Magistrate Judge made under 28 U.S.C. §

636(b)(1)(B) is adopted as the opinion of this Court.

     It is ORDERED that this habeas petition be DENIED as

time-barred and that this action be DISMISSED.

     DONE this 28th day of November, 2005.




                                        s/ W. B. HAND
                                     SENIOR DISTRICT JUDGE
